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USDC SDNY
Criminal Notice of Appeal - Form A DOCUMENT
ELECTRONICALLY FILED
NOTICE OF APPEAL
DOC #:
United States District Court
DATE FILED: 3\20
Southern District of New York | es ED: 2\2:2)2.29]
Caption:

United States of America _

 

Docket No.. 19 Cr. 285 (GBD)
Hon. George B. Daniels
(District Court Judge)

Laurence F. Doud lil

 

 

 

Notice is hereby given that the United States of America appeals to the United States Court of

 

Appeals for the Second Circuit from the judgment ¥ _ other | ¥ Rule 29 decision and judgment
(specify)

 

entered in this action on 2/23/23 and 3/9/23 .
(date)

This appeal concerns: Conviction only[____—S»- Sentence only |__| Conviction & Sentence iv Other [__.
Defendant found guilty by plea| —_| trial | ¥ | N/A [

Offense occurred after November 1, 1987? Yes | ¥ No [ N/A [

Date of sentence: March 9, 2023 NAL __|

Bail/Jail Disposition: Committed | Not committed | ¥ | NAT

 

Appellant is represented by counsel? Yes v ] No | | If yes, provide the following information:
Befendant’s Counsel: Robert C. Gottlieb & Associates PLLC and the Janey Law Firm PC
Counsel's Address: 111 Broadway, Suite 701

 

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Counsel’s Phone: 212-566-7766

 

Assistant U.S. Attorney, _!homas Burnett, Nicolas Roos, Alexandra Rothman

 

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(Latur od —

Signature

 

 

AUSA’s Phone:

 
